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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          CASE N O.13-14047-CR-M ART1NEZ/LYNCH

  UNITED STATES OF AM ERICA

         Plaintiff,


  M VEN SIM ONE SAYERS,

         Defendant.


        ORDER ADOPTING M AG ISTRATE'S REPO RT AND RECO M M ENDATION

        THIS CAUSE cam ebefore the Courtupon the OrderofReferencefrom theDistrict
  Courtto condud aChange ofPleabeforeaM agistrateJudge.
        THE M ATTER wasreferred toM agistrate Judge FrankJ. Lynch Jr,on Decem berl0
                                                                                       ,

 2013. A ReportandRecom mendation wasfiled on Decem ber 13,
                                                               2013,(D.E.#160),
 recomm ending thattheDefendant'spleaofguilty beaccepted. TheDefendantand the
 GovernmentwereaffordedtheopportunitytofileobjectionstotheReportandRecommendation,
 howevernonewerefiled. TheCourthasreviewed theentire file and record and notesthatno

 objectionshavebeenfiled.Aftercarefulconsideration, theCourtaffirm sand adoptsthe Report
 and R ecom m endation. Accordingly,itishereby:
        O RD ER ED A N D A D JU DG ED that
       The Reportand Recom mendation ofUnited StatesM agistrateJudgeFrank J. Lynch Jr,is
 hereby AFFIRM ED and ADO PTED in itsentirety.
       TheDefendantisadjudgedguiltytoCountFour, CountSix and CountSeven oftheThird
 Superseding lndictment, which chargestheDefendantin CotmtFourwith interfering with
 commercebythreatsorviolence(robbery),inviolationofTitle 18United StatesCode, Sections
 1951(a)and2;CountSixwhichchargesinterferingwithcommercebythreatsorviolence
 (robbery),inviolationofTitle 18,UnitedStatesCode, Section 1951(a);and CountSevenwhich
chargesusing,carrying and possessing afirearm in furtheranceofa crim eofviolence
(brandishing),inviolation ofTitle18,UnitedStatesCode, Sections924(c)(1)(A)(ii)and2.
       D ONE AND O RDERED in ChambersatM iam i,
                                                     Florida,thisF(dayofJanuary,2014.

                                             JO SE . AR   Z
                                             UNIT STATES DISTRICT JUDGE
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   Copied:Hon.M agistrate Lynch
   AllCounselOfRecord
   U.S.Probation Office
